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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEBRASKA

                                                                             )
In re:                                                                       ) Chapter 11
                                                                             )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                               ) Case No. 19-80064-TLS
                                                                             )
                             Debtors.                                        ) (Jointly Administered)
                                                                             )

                           MONTHLY FEE STATEMENT OF
                          WILLKIE FARR & GALLAGHER LLP
                   FOR ALLOWANCE OF AN ADMINISTRATIVE CLAIM
                    FOR COMPENSATION AND REIMBURSEMENT OF
              EXPENSES INCURRED FROM MAY 1, 2019 THROUGH JUNE 11, 2019

 Name of Applicant:                                     Willkie Farr & Gallagher LLP

 Authorized to provide                                  Special Committee of Independent Directors of
 professional services to:                              Specialty Retail Shops Holding Corp

                                                        January 28, 2019, nunc pro tunc to January 16, 2019
 Date of retention order:
                                                        [Docket No. 199]

 Period for which compensation
                                                        May 1, 2019 through June 11, 2019
 and reimbursement are sought:

 Compensation sought as
                                                        $325,795.20 (80% of $407,244.00)
 actual, reasonable, and necessary:

 Expense reimbursement sought as
                                                        $9,954.74
 actual, reasonable, and necessary:

 Type of fee statement or application:                  Monthly Fee Statement2


 1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
         Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
         R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
         Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
         LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
         (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.

 2
         Notice of this Monthly Fee Statement shall be served in accordance with the Interim Compensation Order
         (as defined herein) and objections to payment of the amounts described in this Monthly Fee Statement shall be
         addressed in accordance with the Interim Compensation Order.
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        Pursuant to sections 327, 330, and 331 of title 11 of the United States Code,

 (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), the Order Granting Application to Employ Willkie Farr & Gallagher

 LLP, as Counsel to the Special Committee of the Debtors and Conflicts Counsel to the Debtors

 entered January 28, 2019 [Docket No. 199] (the “Retention Order”), the Order (I) Establishing

 Procedures for Interim Compensation and Reimbursement of Expenses for Retained

 Professionals, and (II) Granting Related Relief, dated February 21, 2019 [Docket No. 473]

 (the “Interim Compensation Order”), and the Nebraska Rules of Bankruptcy Procedure of the

 United States Bankruptcy Court for the District of Nebraska (the “Local Rules”), the law firm of

 Willkie Farr & Gallagher LL (“WF&G”), counsel for the special committee of Specialty Retail

 Shops Holding Corp. and conflicts counsel to the debtors and debtors in possession (collectively,

 the “Debtors”), hereby submits this monthly fee statement (the “Monthly Fee Statement”) for the

 allowance of compensation for the reasonable and necessary legal services rendered by WF&G

 for the period from May 1, 2019 through June 11, 2019 (the “Fee Period”) and reimbursement of

 the actual and necessary expenses that WF&G incurred during the Fee Period. By this Monthly

 Fee Statement, WF&G seeks allowance of compensation for services rendered in the amount of

 407,244.00 and payment in the amount of $325,795.20 (which equals 80% of the compensation

 sought herein).   WF&G also seeks allowance and reimbursement of actual and necessary

 expenses in the amount of $9,954.74.

                Itemization of Services Rendered and Disbursements Incurred

        1.     In support of this Monthly Fee Statement, WF&G has attached the following:

        •      Exhibit A is a summary of the prior fee statements and applications
               submitted by WF&G and the amounts allowed by the Court in connection
               with these chapter 11 cases.



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           •        Exhibit B is a summary of the number of hours expended and fees
                    incurred (on an aggregate basis) by WF&G partners, counsel, associates,
                    and paraprofessionals during the Fee Period with respect to each of the
                    subject matter categories that WF&G established in accordance with its
                    internal billing procedures. WF&G incurred $407,244.00 in fees during
                    the Fee Period. Pursuant to this Monthly Fee Statement, WF&G seeks
                    reimbursement for 80% of such fees ($325,795.20 in the aggregate).

           •        Exhibit C is a summary providing certain information regarding the
                    WF&G attorneys and paraprofessionals for whose work on these
                    chapter 11 cases compensation is sought in this Monthly Fee Statement.
                    WF&G’s attorneys and paraprofessionals expended a total of 416.3 hours
                    in connection with these chapter 11 cases during the Fee Period.

           •        Exhibit D is a summary of the expenses incurred by WF&G during the
                    Fee Period that sets forth the total amount of reimbursement sought with
                    respect to each type of expense for which WF&G is seeking
                    reimbursement in this Monthly Fee Statement. These disbursements
                    comprise the requested sum for WF&G’s out-of-pocket expenses.

           •        Exhibit E is a true and correct copy of WF&G’s invoice for the Fee
                    Period, which reflects the fees and expenses sought in this Monthly Fee
                    Statement.

                                            Representations

           2.       Although every effort has been made to include all fees and expenses incurred in

 the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

 to delays caused by accounting and processing during the Fee Period. WF&G reserves the right

 to make further application to this Court for allowance of such fees and expenses not included

 herein.        Subsequent fee statements and applications will be filed in accordance with the

 Bankruptcy Code, Bankruptcy Rules, Local Rules, and Interim Compensation Order.




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                                               Notice

           3.    The Debtors have provided notice of this Monthly Fee Statement in accordance

 with the Interim Compensation Order. The Debtors submit that, in light of the nature of the

 relief requested, no other or further notice need be given.

           WHEREFORE, WF&G respectfully requests that an allowance be made to W&FG for

 100% of its fees of $407,244.00 and 100% of its expenses of $9,954.74 incurred during the Fee

 Period. WF&G also respectfully requests payment by the Debtors of $335,749.94 representing

 the sum of 80% of its fees requested herein plus 100% of the expense reimbursement requested

 herein.

 Dated: July 1, 2019              /s/ Brian S. Lennon
  New York, New York              Brian S. Lennon (admitted pro hac vice)
                                  Matthew A. Feldman
                                  Todd G. Cosenza (admitted pro hac vice)
                                  WILLKIE FARR & GALLAGHER LLP
                                  787 Seventh Avenue
                                  New York, New York 10019
                                  Tel: (212) 728-8000
                                  Fax: (212) 728-8111
                                  Email: blennon@willkie.com

                                  Counsel to the Special Committee of
                                  Independent Directors of the Debtors
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                                             EXHIBIT A

                    Prior Fee Statements, Applications, and Allowances


                                                       Requested            Approved and/or Paid
    Date Filed   Period Covered                 Fees          Expenses         Fees         Expenses
1     3/5/19        1/16/19 – 1/31/19         $348,049.50      $5,406.73    $278,439.60      $5,406.73
2     4/1/19        2/1/19 – 2/28/19          $600,595.50      $6,893.29    $480,476.40      $6,893.29
3     4/29/19       3/1/19 – 3/31/19          $665,407.50      $16,428.66   $532,326.00      $16,428.66
4     6/17/19       4/1/19 – 4/30/19          $939,696.50      $10,005.83
                               TOTALS:       $2,553,749.00     $38,734.51   $1,291,242.00    $28,728.68




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                                     EXHIBIT B

              Statement of Fees by Subject Matter during the Fee Period

                                                              Total
    Matter                                                                Total Fees
                           Matter Description                 Billed
    Number                                                                Requested
                                                              Hours
          1    General Chapter 11                             216.1        $215,962.50
          2    Investigation                                  165.1        $158,586.50
          3    Negotiations                                     0.0              $0.00
          4    Fee Statements and Applications                 16.0         $10,670.00
          5    Retention Matters                                0.0              $0.00
          6    Retention and Fee Application Objections         0.0              $0.00
          7    Non-Working Travel (billed at 50%)              19.1         $22,025.00
 Totals                                                       416.3        $407,244.00




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                                                EXHIBIT C

                       Professionals Rendering Services during the Fee Period

          The WF&G attorneys who rendered professional services in these cases during the Fee

 Period include:

                                                                  Hourly    Total
                                     Year                                               Total
      Attorney          Position                 Department       Billing   Billed
                                    Admitted                                         Compensation
                                                                   Rate     Hours
 Todd G. Cosenza         Partner      1999        Litigation      $1,350     62.4     $84,240.00
                                                 Corporate &
 Claire James            Partner      2011         Financial      $1,100     11.4     $12,540.00
                                                   Services
                                                   Business
 Brian S. Lennon         Partner      2004      Reorganization    $1,350     86.8     $117,180.00
                                                & Restructuring
                                                 Corporate &
 Jeffrey B. Clancy      Counsel       2001         Financial      $1,070     1.4       $1,498.00
                                                   Services
 Ian K. Hochman         Counsel       2000        Litigation      $1,070     0.2       $214.00
 Gabrielle Antonello   Associate      2017        Litigation       $830      14.4     $11,952.00
 Hye-Kyung             Discovery
                                      2008        Litigation       $490      7.8       $3,822.00
 (Monica) Chang        Attorney
 Michaela Connolly     Associate      2019        Litigation       $550      21.7     $11,935.00
                                                   Business
 Syed S. Haq            Associate     2016      Reorganization     $890      66.5     $59,185.00
                                                & Restructuring
                                                   Business
 Erin Ryan              Associate     2019      Reorganization     $550      38.3     $21,065.00
                                                & Restructuring
                                                 Corporate &
                                      2014
 Rebecca Wainstein      Associate                  Financial       $950      44.6     $42,370.00
                                    (Ontario)
                                                   Services
 Jonathan D.
                        Associate     2013        Litigation      $1,025     28.6     $29,315.00
 Waisnor
 Romane Paul           Law Clerk      N/A         Litigation       $410      1.2       $492.00
                                                 Corporate &
 Gabrielle Young       Law Clerk      N/A         Financial        $410      18.5      $7,585.00
                                                  Services
 Totals                                                                     403.8     $403,393.00




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         The WF&G paraprofessionals who rendered professionals services in these cases during

 the Fee Period include:

                                                             Hourly
                                                                       Total Billed      Total
   Paraprofessional         Position        Department       Billing
                                                                         Hours        Compensation
                                                              Rate
                                             Business
                      Practice Support     Reorganization
 Alison Ambeault                                              $410         2.6          $1,066.00
                      Manager             & Restructuring
                                           and Litigation
                                             Business
 Eric Barch           Paralegal            Reorganization     $250         6.1          $1,525.00
                                          & Restructuring
                                             Business
 Rebecca Cordy        Senior Paralegal     Reorganization     $260         0.6          $156.00
                                          & Restructuring
                                             Litigation
 Joy M. Watson        Asst. Manager                           $345         3.2          $1,104.00
                                          Support Services
                               Totals                                     12.5          $3,851.00
                       Total All Professionals                            416.3        $407,244.00




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                                         EXHIBIT D

                   Summary of Expenses Incurred during the Fee Period

                         Service Description                            Amount
 Postage / Messenger / Overnight Delivery                                           $44.93
 Local Transportation                                                             $823.53
 Teleconferencing                                                                   $69.11
 Local Meals                                                                        $45.31
 Other Out of Town Travel                                                         $176.46
 Lodging                                                                         $1,388.91
 Airfare / Train                                                                 $7,144.00
 Reproduction                                                                     $212.49
 Data Acquisition (includes Legal Research)                                         $50.00
 Total                                                                           $9,954.74
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                                   EXHIBIT E

                             Invoice for the Fee Period

                                  [See Attached]
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MATTER TIME DETAIL                                                       Document    Page 11 of 31 Worked 05/01/2019 Thru
Run Date & Time: 6/28/2019  11:40:23AM                                                                                                       06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index

17427   CONNOLLY M      ASSOCIATE          05/01/2019                     revise Ducera declaration             1.6                880.00                    21303708
                                                                          (1.6).
18027   HAQ S S         ASSOCIATE          05/01/2019                     Correspondence w/ T. Bayer re:       10.3              9,167.00                    21409686
                                                                          TSA agreement (.3); review and
                                                                          revise statement in response to
                                                                          motion to compel (3.6);
                                                                          correspondence w/ clients, K&E
                                                                          re: same (1.2); attend motion
                                                                          to compel discovery hearing
                                                                          (1.0); review and revise
                                                                          derivative standing motion
                                                                          (1.8); review and revise
                                                                          settlement agreement (2.1);
                                                                          correspondence w/ B. Lennon re:
                                                                          same (.4).
18152   JAMES C         PARTNER            05/01/2019                     TSA review (.6); consider             1.8              1,980.00                    21402398
                                                                          closing related items (.4);
                                                                          checklist review (.8).
17450   RYAN E          ASSOCIATE          05/01/2019                     Review and revise Special             3.2              1,760.00                    21320620
                                                                          Committee meeting minutes (.4);
                                                                          objection to UCC Standing
                                                                          Motion (1.6); statement in
                                                                          Response to Motion to Compel
                                                                          (.9); motion to Shorten (.3).
17912   WAINSTEIN R E   ASSOCIATE          05/01/2019                     Corr. with various parties re:        1.9              1,805.00                    21323410
                                                                          sale (.7); revise documents
                                                                          (.8); draft closing checklist
                                                                          (.4).
18152   JAMES C         PARTNER            05/02/2019                     Corr. w/ Gibson, K&E closing          0.9                990.00                    21402405
                                                                          items.
17450   RYAN E          ASSOCIATE          05/02/2019                     Draft section on investigation        5.2              2,860.00                    21320737
                                                                          details and facts for standing
                                                                          motion objection.
17912   WAINSTEIN R E   ASSOCIATE          05/02/2019                     Corr. w/ C. James regarding           1.0                950.00                    21323400
                                                                          checklist (.4); coordinate
                                                                          matters with Kirkland and
                                                                          closing (.4); corr. with
                                                                          client re: same (.2).
18152   JAMES C         PARTNER            05/03/2019                     Attention to closing related          1.2              1,320.00                    21402029
                                                                          items.
17912   WAINSTEIN R E   ASSOCIATE          05/03/2019                     Revise closing checklist (.3);        0.4                380.00                    21323494
                                                                          corresponding with internal
                                                                          team and with Gibson re: same
                                                                          (.1).
10763   HOCHMAN I K     COUNSEL            05/06/2019                     Review and consider data export       0.2                214.00                    21418024
                                                                          request from J. Watson.
18152   JAMES C         PARTNER            05/06/2019                     Work on closing.                      0.8                880.00                    21417340

17912   WAINSTEIN R E   ASSOCIATE          05/06/2019                     Attend call with Gibson               2.0              1,900.00                    21332174
                                                                          regarding closing matters (.6);
                                                                          corr. internally and with
                                                                          Kirkland re: same (.5);
                                                                          research precedent on closing
                                                                          matters (.9).
17463   YOUNG G         LAW CLERK          05/06/2019                     Call with other side re closing       1.6                656.00                    21320637
                                                                          checklist (.6); draft officer's
                                                                          certificate (1.0).
18152   JAMES C         PARTNER            05/07/2019                     Correspondence w/ K&E. Gibson         0.5                550.00                    21417336
                                                                          re: closing.
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Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index
17912   WAINSTEIN R E   ASSOCIATE          05/07/2019                     Attend call with Gibson               2.6              2,470.00                    21332178
                                                                          regarding closing matters (.6);
                                                                          corr. internally and with
                                                                          Kirkland re: same (.5);
                                                                          research precedent on closing
                                                                          matters (.9).
17463   YOUNG G         LAW CLERK          05/07/2019                     Prepare bring down certificate        1.2                492.00                    21327819
                                                                          for APA.
17912   WAINSTEIN R E   ASSOCIATE          05/08/2019                     Discuss signature packages with       1.1              1,045.00                    21332013
                                                                          G. Young.
17463   YOUNG G         LAW CLERK          05/08/2019                     Discuss signature packet w/ R.        1.3                533.00                    21327838
                                                                          Wainstein (1.1); follow up re:
                                                                          same (.2).
18027   HAQ S S         ASSOCIATE          05/09/2019                     Review and revise chapter 11          1.2              1,068.00                    21409591
                                                                          plan (1.0); corr. w/ K&E re:
                                                                          same (.2).
18152   JAMES C         PARTNER            05/09/2019                     Review closing docs.                  0.8                880.00                    21417341

17912   WAINSTEIN R E   ASSOCIATE          05/09/2019                     Draft closing documents (5.6);        7.1              6,745.00                    21354398
                                                                          attend calls with Kirkland,
                                                                          Gibson and Company re: closing
                                                                          (.8); attending all party calls
                                                                          (.7).
17463   YOUNG G         LAW CLERK          05/09/2019                     Prepare signature packets (.3);       1.0                410.00                    21330857
                                                                          attend all hands call re:
                                                                          closing (.7).
18152   JAMES C         PARTNER            05/10/2019                     Corr. w/ Gibson, K&E re:              0.5                550.00                    21417288
                                                                          closing matters.
17912   WAINSTEIN R E   ASSOCIATE          05/10/2019                     Attend to pre-closing matters         5.3              5,035.00                    21337842
                                                                          (1.6); draft closing documents
                                                                          (2.8); corresponding with
                                                                          Kirkland and with Gibson re:
                                                                          closing (.7); revising
                                                                          signature packages (.2).
17463   YOUNG G         LAW CLERK          05/10/2019                     Draft closing checklist.              2.5              1,025.00                    21333826

17585   LENNON B        PARTNER            05/11/2019                     Correspondence w/ clients re:         0.2                270.00                    21409120
                                                                          Monarch settlement.
17912   WAINSTEIN R E   ASSOCIATE          05/11/2019                     Corr. w/ K&E, Gibson, Willkie         0.7                665.00                    21341603
                                                                          re: closing.
18027   HAQ S S         ASSOCIATE          05/13/2019                     Correspondence w/ K&E, Gibson         0.5                445.00                    21409655
                                                                          re: optical sale and wire
                                                                          instructions.
18152   JAMES C         PARTNER            05/13/2019                     Review closing documents.             1.9              2,090.00                    21419285

17912   WAINSTEIN R E   ASSOCIATE          05/13/2019                     Corr. with Gibson regarding           1.1              1,045.00                    21341876
                                                                          signing matters and closing
                                                                          date.
18027   HAQ S S         ASSOCIATE          05/14/2019                     Correspondence w/ B. Lennon,          1.1                979.00                    21409504
                                                                          K&E re: revised plan (.5);
                                                                          corr. w/ K&E re: deposit
                                                                          accounts (.6).
18152   JAMES C         PARTNER            05/14/2019                     Address closing items.                1.0              1,100.00                    21419207
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Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 13 of 31 Worked 05/01/2019 Thru                    06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index
17912   WAINSTEIN R E   ASSOCIATE          05/14/2019                     Attend all hand calls regarding       5.1              4,845.00                    21350769
                                                                          pre-closing (1.4); discussing
                                                                          matters with C. James (.6);
                                                                          draft and revise closing
                                                                          documents (2.6); corr. with
                                                                          client re: status (.2); corr.
                                                                          with various parties re:
                                                                          closing (.3).
17463   YOUNG G         LAW CLERK          05/14/2019                     Prepare signature pages (.4);         2.0                820.00                    21343407
                                                                          turn comments on direction to
                                                                          purchaser doc (.2); call with
                                                                          client and other side re:
                                                                          closing items (1.4).
18152   JAMES C         PARTNER            05/15/2019                     Work on closing docs.                 1.5              1,650.00                    21419244

17912   WAINSTEIN R E   ASSOCIATE          05/15/2019                     Work on closing matters.             10.6             10,070.00                    21350865

17463   YOUNG G         LAW CLERK          05/15/2019                     Compile sig pages (.3); update        4.8              1,968.00                    21345599
                                                                          closing checklist (.4); revise
                                                                          closing documents (4.1).
18152   JAMES C         PARTNER            05/16/2019                     Corr. w/ Gibson, K&E re:              0.5                550.00                    21419277
                                                                          closing.
17912   WAINSTEIN R E   ASSOCIATE          05/16/2019                     Attending to closing.                 1.9              1,805.00                    21350843

17463   YOUNG G         LAW CLERK          05/16/2019                     Revise closing docs.                  3.5              1,435.00                    21349881

17585   LENNON B        PARTNER            05/17/2019                     Review correspondence with UCC        0.7                945.00                    21408801
                                                                          and Sun re revisions to plan
                                                                          (.4); telephone conference with
                                                                          S. Winograd re status (.3).
17912   WAINSTEIN R E   ASSOCIATE          05/20/2019                     Attending to post-closing             3.8              3,610.00                    21383441
                                                                          matters.
17463   YOUNG G         LAW CLERK          05/20/2019                     Compile closing docs.                 0.6                246.00                    21358562

17427   CONNOLLY M      ASSOCIATE          05/21/2019                     Corr. w/ S. Haq re: declaration       0.1                 55.00                    21359326
                                                                          in support of confirmation.
15445   COSENZA T G     PARTNER            05/21/2019                     corr. w/ T. Bayer re: draft           0.5                675.00                    21361190
                                                                          plan and settlement papers
                                                                          (.3); review of same (.2).
18027   HAQ S S         ASSOCIATE          05/21/2019                     Corr. w/ B. Lennon re: revised        0.9                801.00                    21409653
                                                                          plan and notice documents (.4);
                                                                          corr. w/ client re: declaration
                                                                          in support of plan (.5).
17585   LENNON B        PARTNER            05/21/2019                     Review revised plan and               0.9              1,215.00                    21408915
                                                                          disclosure statement (.5);
                                                                          corr. with S. Haq re: same
                                                                          (.4).
17450   RYAN E          ASSOCIATE          05/21/2019                     Drafted Verost declaration in         1.5                825.00                    21393339
                                                                          support of plan confirmation.
18027   HAQ S S         ASSOCIATE          05/22/2019                     Review and revise declaration         2.2              1,958.00                    21409552
                                                                          in support of the plan (2.0);
                                                                          corr. w/ client re: same (.2).
17585   LENNON B        PARTNER            05/22/2019                     Telephone conference with C.          0.2                270.00                    21408998
                                                                          Wolfe re: status.
17450   RYAN E          ASSOCIATE          05/22/2019                     Revise Verost declaration in          0.5                275.00                    21393287
                                                                          support of plan confirmation.
13086   AMBEAULT A      LEGAL ASSISTANT    05/23/2019                     Prepare materials for                 1.3                533.00                    21411231
                                                                          confirmation hearing.
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                             Desc Main              4
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 14 of 31 Worked 05/01/2019 Thru                    06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index
17896   BARCH E        LEGAL ASSISTANT     05/23/2019                     Compile plan confirmation             0.5                125.00                    21366195
                                                                          objections for J. Waisnor.
16341   CORDY R        LEGAL ASSISTANT     05/23/2019                     Prepare and file declaration in       0.6                156.00                    21367286
                                                                          support of plan confirmation.
15445   COSENZA T G    PARTNER             05/23/2019                     Discussion with B. Lennon on          1.3              1,755.00                    21367176
                                                                          status (.2); corr. w/ Kirkland
                                                                          re: witness list and issues
                                                                          relating to 5/28 hearing (.5);
                                                                          review of pleadings and Verost
                                                                          declaration (.6).
18027   HAQ S S        ASSOCIATE           05/23/2019                     Review and revise plan                2.9              2,581.00                    21409676
                                                                          confirmation declarations
                                                                          (1.4); corr. w/ client, K&E, B.
                                                                          Lennon re: same (1.0); prepare
                                                                          filing version (.5)
17585   LENNON B       PARTNER             05/23/2019                     Review and revise Verost              1.0              1,350.00                    21408902
                                                                          declaration (.6);
                                                                          correspondence with team re
                                                                          same (.4).
16388   WAISNOR J D    ASSOCIATE           05/23/2019                     Review objections to Plan             0.6                615.00                    21407067
                                                                          confirmation (0.3); discussion
                                                                          with J. Lula, S. Haq, and B.
                                                                          Lennon regarding hearing (0.3).
16591   ANTONELLO G    ASSOCIATE           05/24/2019                     Call with J. Waisnor re:              3.6              2,988.00                    21412405
                                                                          confirmation hearing (.3);
                                                                          draft direct exam outline for
                                                                          A. Verost (3.3).
17896   BARCH E        LEGAL ASSISTANT     05/24/2019                     Compile additional Objections         0.2                 50.00                    21369448
                                                                          to Confirmation of Plan for J.
                                                                          Waisnor.
15445   COSENZA T G    PARTNER             05/24/2019                     Corr. w/ B. Lennon, J. Waisnor        2.2              2,970.00                    21381694
                                                                          re: status of objections (.6);
                                                                          review of McKesson and Florida
                                                                          plaintiff objections (1.2);
                                                                          corr. with J. Waisnor on Verost
                                                                          direct (.4).
18027   HAQ S S        ASSOCIATE           05/24/2019                     Correspondences with K&E re           1.0                890.00                    21409514
                                                                          McKesson objection (.7);
                                                                          correspondence with internal
                                                                          group re same (.3).
17585   LENNON B       PARTNER             05/24/2019                     Telephone conference with             1.1              1,485.00                    21408978
                                                                          Special Committee and Kirkland
                                                                          re case update (.5);
                                                                          correspondence with litigation
                                                                          team re preparation for
                                                                          confirmation (.6).
16388   WAISNOR J D    ASSOCIATE           05/24/2019                     Review objections to plan             1.8              1,845.00                    21407046
                                                                          confirmation (0.5); various
                                                                          discussions with team members
                                                                          regarding same (0.8); call with
                                                                          K+E regarding objections (0.5).
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                             Desc Main              5
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 15 of 31 Worked 05/01/2019 Thru                    06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index
15445   COSENZA T G    PARTNER             05/25/2019                     Prepare for call with team and        4.3              5,805.00                    21381787
                                                                          K&E on hearing (.4); call with
                                                                          K&E and WFG on strategy (.4);
                                                                          follow up with J. Waisnor on
                                                                          various tasks for hearing (.3);
                                                                          review and revise A. Verost
                                                                          direct (2.2); review of
                                                                          settlement agreements and
                                                                          Ducera report for same (.6);
                                                                          corr. w/ WFG, K&E status of
                                                                          McKesson issues and other
                                                                          objectors (.4).
17585   LENNON B       PARTNER             05/25/2019                     Telephone conference re               0.5                675.00                    21408851
                                                                          McKesson objection with
                                                                          Kirkland litigation team.
16388   WAISNOR J D    ASSOCIATE           05/25/2019                     Draft direct examination              3.2              3,280.00                    21406727
                                                                          outline of A. Verost.
15445   COSENZA T G    PARTNER             05/26/2019                     Follow up on status of hearing        0.7                945.00                    21381571
                                                                          (.3), corr. with J. Waisnor on
                                                                          hearing logistics, exhibits and
                                                                          direct (.4).
17585   LENNON B       PARTNER             05/26/2019                     Correspondence with litigators        0.5                675.00                    21408758
                                                                          re testimony outlines for
                                                                          confirmation.
16388   WAISNOR J D    ASSOCIATE           05/26/2019                     Revise A. Verost direct               3.1              3,177.50                    21407158
                                                                          examination (2.8);
                                                                          correspondence with K&E
                                                                          regarding trial exhibits (.3).
15445   COSENZA T G    PARTNER             05/27/2019                     Prepare for hearing (1.1);            5.9              7,965.00                    21381535
                                                                          meeting with B. Lennon to
                                                                          discuss strategy and status
                                                                          (.4); review relevant pleadings
                                                                          and exhibits in preparation for
                                                                          hearing (4.4).
17585   LENNON B       PARTNER             05/27/2019                     Prepare for confirmation              1.3              1,755.00                    21408862
                                                                          hearing.
16388   WAISNOR J D    ASSOCIATE           05/27/2019                     Revise Verost direct                  0.4                410.00                    21407162
                                                                          examination outline.
15445   COSENZA T G    PARTNER             05/28/2019                     Prepare A. Verost for direct          8.5             11,475.00                    21381543
                                                                          examinations (1.4); meeting
                                                                          with K&E pre-hearing to discuss
                                                                          strategy (.6); attend hearing
                                                                          on confirmation (5.6); follow
                                                                          up with team and B. Lennon to
                                                                          discuss strategy and next steps
                                                                          (.6.); corr. w/ B. Lennon re:
                                                                          recent McKesson litigation
                                                                          (.3).
18027   HAQ S S        ASSOCIATE           05/28/2019                     Prepare for (.6);                     6.8              6,052.00                    21409512
                                                                          telephonically attend
                                                                          confirmation hearing (4.5);
                                                                          review various board materials
                                                                          for claims issues (1.7).
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                             Desc Main              6
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 16 of 31 Worked 05/01/2019 Thru                    06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index
17585   LENNON B       PARTNER             05/28/2019                     Prepare for confirmation              9.1             12,285.00                    21408856
                                                                          hearing (1.2); attend
                                                                          confirmation hearing (4.5);
                                                                          follow up conference with
                                                                          Kirkland, BRG and Willkie to
                                                                          determine next steps (1.2);
                                                                          telephone conference with M.
                                                                          Meghji and S. Winograd re:
                                                                          confirmation hearing (.5);
                                                                          analyze next steps (1.7).
16388   WAISNOR J D    ASSOCIATE           05/28/2019                     Meeting with A. Verost                6.8              6,970.00                    21407165
                                                                          regarding direct examination
                                                                          (1.0); meeting with K&E to
                                                                          discuss hearing (.5); attend
                                                                          plan confirmation hearing
                                                                          (4.5); prepare for same (.8).
18027   HAQ S S        ASSOCIATE           05/29/2019                     Prepare for (.7);                     2.0              1,780.00                    21409486
                                                                          telephonically attend
                                                                          confirmation hearing (1.3).
17585   LENNON B       PARTNER             05/29/2019                     Prepare for confirmation              6.5              8,775.00                    21408761
                                                                          hearing (3.3); attend
                                                                          confirmation hearing (1.3);
                                                                          follow up conference with
                                                                          Kirkland (1.2); follow up
                                                                          conference with S. Winograd and
                                                                          M. Meghji (.5); follow up
                                                                          conference with B. Duffy (.2).
17450   RYAN E         ASSOCIATE           05/29/2019                     Review court docket for filed         0.2                110.00                    21393299
                                                                          pleadings for S. Haq.
15445   COSENZA T G    PARTNER             05/30/2019                     Call with M. Feldman and B.           2.4              3,240.00                    21387966
                                                                          Lennon on strategy (.4); follow
                                                                          up on research regarding
                                                                          releases for directors (.8);
                                                                          participate in Board meeting
                                                                          (.9); corr. with J. Waisnor and
                                                                          G. Antonello on research issues
                                                                          (.3).
17585   LENNON B       PARTNER             05/30/2019                     Analyze issues related to             3.4              4,590.00                    21409094
                                                                          confirmation (2.1); telephone
                                                                          conferences w/ S. Serajedinni
                                                                          re: same (.3); prepare for and
                                                                          participate in board call (1.0)
16388   WAISNOR J D    ASSOCIATE           05/30/2019                     Conversations with G. Antonello       0.5                512.50                    21410752
                                                                          and T. Cosenza regarding
                                                                          research i/c/w revised plan.
16915   CLANCY J B     COUNSEL             05/31/2019                     Call with S. Haq Re: insurance.       0.2                214.00                    21400388

15445   COSENZA T G    PARTNER             05/31/2019                     Corr. w/ K&E re: status of plan       0.8              1,080.00                    21397761
                                                                          issues and resolution (.4);
                                                                          corr. from B. Lennon on ShopKo
                                                                          filing and release changes
                                                                          (.4).
18027   HAQ S S        ASSOCIATE           05/31/2019                     Prepare for (.2); attend              3.6              3,204.00                    21409668
                                                                          conference calls re: revised
                                                                          plan (.8); review revised plan
                                                                          (.9); corr. w/ J. Clancy with
                                                                          insurance re: plan issues (.2);
                                                                          review insurance research
                                                                          (1.1); corr. w/ K&E re:
                                                                          confirmation (.4).
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                             Desc Main              7
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 17 of 31 Worked 05/01/2019 Thru                    06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                  Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                      Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                           For Acct
                                                                                                                                                             Only
                                            Work        Task   Activity                                     Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                        Hours           Amount
                                                                                   Description                                                              Index
17585   LENNON B       PARTNER             05/31/2019                     Telephone conferences with            3.4              4,590.00                    21409152
                                                                          Kirkland, lenders, and UCC re
                                                                          status of case (.8); telephone
                                                                          conference with McKesson re
                                                                          status (.3); review revised
                                                                          plan (.5); telephone conference
                                                                          with S. Serajedinni re: same
                                                                          (.4); corr. w/ S. Haq re: same
                                                                          (.3); corr. with S. Winograd
                                                                          re: same (.4); corr. with
                                                                          Willkie team re: removal of
                                                                          indemnification provision (.3);
                                                                          analyze issues re: same (.4).
16388   WAISNOR J D    ASSOCIATE           05/31/2019                     Review G. Antonello's research        0.1                102.50                    21410641
                                                                          into director liability.
15445   COSENZA T G    PARTNER             06/01/2019                     Prepare for call with team with       0.8              1,080.00                    21397899
                                                                          review of filings (.3); call
                                                                          with team to discuss strategy
                                                                          and next steps (.5).
18027   HAQ S S        ASSOCIATE           06/01/2019                     Conference call w/ Willkie team       3.4              3,026.00                    21454858
                                                                          re: third amended plan (.7);
                                                                          draft letter re same (2.7).
17585   LENNON B       PARTNER             06/01/2019                     Telephone conferences with            1.2              1,620.00                    21485603
                                                                          Willkie team re modifications
                                                                          to release provisions (.7);
                                                                          telephone conference with K&E
                                                                          team re same (.5).
16388   WAISNOR J D    ASSOCIATE           06/01/2019                     Corr. with team regarding             0.4                410.00                    21457453
                                                                          filing of amended plan.
17585   LENNON B       PARTNER             06/02/2019                     Correspondence with Special           0.2                270.00                    21485637
                                                                          Committee re plan
                                                                          modifications.
16915   CLANCY J B     COUNSEL             06/03/2019                     Review of bankruptcy filings          1.2              1,284.00                    21452014
                                                                          (.9); discuss same with S. Had
                                                                          and B. Lennon (.3).
15445   COSENZA T G    PARTNER             06/03/2019                     Emails on plan issues (.3);           0.7                945.00                    21422794
                                                                          call with B. Lennon on status
                                                                          of discussions with K&E and
                                                                          clients and follow up on
                                                                          strategy (.4).
17585   LENNON B       PARTNER             06/03/2019                     Telephone conference with M.          2.0              2,700.00                    21485664
                                                                          Feldman re plan modifications
                                                                          (.2); telephone conference with
                                                                          M. Meghji re same (.2);
                                                                          telephone conference with S.
                                                                          Winograd re same (.6);
                                                                          participate in board call (.5);
                                                                          correspond with S. Serajedinni
                                                                          re next steps (.2); telephone
                                                                          conference with J. Clancy re
                                                                          D&O coverage (.3).
15445   COSENZA T G    PARTNER             06/05/2019                     Corr. w/ K&E, B. Lennon re:           0.4                540.00                    21425405
                                                                          status of plan confirmation.
17585   LENNON B       PARTNER             06/05/2019                     Telephone conference with K&E         0.4                540.00                    21485605
                                                                          re confirmation objections
                                                                          (.2); telephone conference with
                                                                          R. Feinstein re McKesson (.2).
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                                  Desc Main              8
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 18 of 31 Worked 05/01/2019 Thru                         06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                       Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                                           Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                                For Acct
                                                                                                                                                                  Only
                                            Work        Task   Activity                                          Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                             Hours           Amount
                                                                                     Description                                                                 Index
15445   COSENZA T G    PARTNER             06/06/2019                      corr. w/ B. Lennon re: plan               1.4              1,890.00                    21429888
                                                                           hearing (.3); call with B.
                                                                           Lennon on same and strategy
                                                                           (.3); follow up on McKesson
                                                                           filings and revised plan (.8).
17585   LENNON B       PARTNER             06/06/2019                      Review McKesson objection to              1.7              2,295.00                    21485607
                                                                           confirmation (.8); telephone
                                                                           conference with S. Serajedinni
                                                                           re: same (.4); Prepare for
                                                                           confirmation hearing (.5).
15445   COSENZA T G    PARTNER             06/07/2019                      Review filings (.3); hearing on           1.3              1,755.00                    21429892
                                                                           plan confirmation (.7); corr.
                                                                           with B. Lennon and clients on
                                                                           next steps (.3).
17585   LENNON B       PARTNER             06/07/2019                      Prepare for (1.5); and attend             2.1              2,835.00                    21485588
                                                                           confirmation hearing (.6).
17450   RYAN E         ASSOCIATE           06/07/2019                      Meeting with K&E team (.5);               1.1                605.00                    21457782
                                                                           attend plan confirmation
                                                                           hearing (.6).


                                                                          TOTAL 126133.00001                       216.1            215,962.50



                                                                                                         TOTAL     216.1            215,962.50
                                 Case 19-80064-TLS               Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                         Desc Main           1
MATTER COST DETAIL
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 19 of 31 Worked 05/01/2019 Thru             06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                           Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                               Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                  For Accounting Only
                                     Tran           Vendor Name / Incurred By                   Cost                      Batch        Batch
                                     Date           Transaction Detail                         Amount                      Date          Id         Index
Cost Category            Code
Reproduction             5050     05/01/2019                             WAINSTEIN                  21.06               05/22/2019     385506       12830726
                                               Reproduction
                                  05/15/2019                             BARCH                     191.43               05/22/2019     385509       12831386
                                               Reproduction
                                                                                TOTAL   5050       212.49

Bloomberg                5069     05/23/2019                             BARCH                      50.00               06/13/2019     386653       12848969
                                               Bloomberg
                                                                                TOTAL   5069        50.00

Taxi, Car Service, &     6020     05/06/2019 Erin Ryan                  RYAN                        19.56               05/08/2019     384930       12821832
                                             Taxi, Car Service, & Parking - Erin
                                             Ryan
                                  05/14/2019 Brian Lennon               LENNON                     121.35               05/23/2019     385596       12832165
                                             Taxi, Car Service, & Parking - Brian
                                             Lennon
                                  05/15/2019 Brian Lennon               LENNON                     107.00               05/23/2019     385596       12832167
                                             Taxi, Car Service, & Parking - Brian
                                             Lennon
                                  05/15/2019 Vital Transportation, In   YOUNG                       68.36               06/10/2019     386534       12847676
                                             Taxi, Car Service, & Parking
                                  05/27/2019 Vital Transportation, In   LENNON                      81.49               06/19/2019     386944       12854907
                                             Taxi, Car Service, & Parking
                                  05/27/2019 Jonathan D. Waisnor        WAISNOR                     18.77               06/21/2019     387073       12857922
                                             Taxi, Car Service, & Parking -
                                             Jonathan D. Waisnor-Shapro Hearing
                                  05/29/2019 Vital Transportation, In   COSENZA                     64.25               06/19/2019     386944       12854909
                                             Taxi, Car Service, & Parking
                                  05/29/2019 Vital Transportation, In   WAISNOR                     86.25               06/19/2019     386944       12854908
                                             Taxi, Car Service, & Parking
                                  06/06/2019 Vital Transportation, In   LENNON                      81.49               06/27/2019     387388       12863597
                                             Taxi, Car Service, & Parking
                                  06/06/2019 Erin Ryan                  RYAN                        34.21               06/24/2019     387130       12858554
                                             Taxi, Car Service, & Parking - Erin
                                             Ryan
                                  06/07/2019 Brian Lennon               LENNON                      69.61               06/24/2019     387138       12858625
                                             Taxi, Car Service, & Parking - Brian
                                             Lennon
                                  06/07/2019 Erin Ryan                  RYAN                        51.44               06/24/2019     387130       12858555
                                             Taxi, Car Service, & Parking - Erin
                                             Ryan
                                                                                TOTAL   6020       803.78

Out of Town Taxi         6021     05/27/2019 Todd Cosenza               COSENZA                     51.86               06/04/2019     386197       12842555
                                             Out of Town Taxi - Todd Cosenza
                                  05/27/2019 Jonathan D. Waisnor        WAISNOR                     13.45               06/21/2019     387073       12857924
                                             Out of Town Taxi - Jonathan D. Waisnor
                                             -Shapro Hearing
                                  05/28/2019 Jonathan D. Waisnor        WAISNOR                         8.63            06/21/2019     387073       12857926
                                             Out of Town Taxi - Jonathan D. Waisnor
                                             -Shapro Hearing
                                  05/29/2019 Todd Cosenza               COSENZA                     11.78               06/04/2019     386197       12842556
                                             Out of Town Taxi - Todd Cosenza
MATTER COST DETAIL               Case 19-80064-TLS              Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                        Desc Main           2
Run Date & Time: 6/28/2019  11:40:23AM                                  Document    Page 20 of 31 Worked 05/01/2019 Thru            06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                         Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                             Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                For Accounting Only
                                     Tran         Vendor Name / Incurred By                   Cost                      Batch        Batch
                                     Date         Transaction Detail                         Amount                      Date          Id         Index
Cost Category            Code
Out of Town Taxi         6021     06/07/2019 Brian Lennon               LENNON                    11.34               06/24/2019     387138       12858626
                                             Out of Town Taxi - Brian Lennon
                                  06/07/2019 Erin Ryan                  RYAN                          8.34            06/24/2019     387130       12858558
                                             Out of Town Taxi - Erin Ryan
                                                                              TOTAL   6021       105.40

Teleconferencing         6030     05/01/2019 Soundpath Conferencing S   LENNON                    13.44               06/04/2019     386234       12844654
                                             Teleconferencing
                                  05/09/2019 Soundpath Conferencing S   WAINSTEIN                 23.77               06/04/2019     386234       12844653
                                             Teleconferencing
                                  05/27/2019 Todd Cosenza               COSENZA                   15.95               06/04/2019     386197       12842557
                                             Teleconferencing - Todd Cosenza
                                  05/29/2019 Todd Cosenza               COSENZA                   15.95               06/04/2019     386197       12842558
                                             Teleconferencing - Todd Cosenza
                                                                              TOTAL   6030        69.11

Local Meals              6040     05/15/2019 Erin Ryan                  RYAN                      20.00               06/20/2019     387018       12857299
                                             Local Meals - Erin Ryan
                                  06/06/2019 Brian Lennon               LENNON                    17.76               06/24/2019     387138       12858624
                                             Local Meals - Brian Lennon
                                  06/06/2019 Erin Ryan                  RYAN                          7.55            06/24/2019     387130       12858553
                                             Local Meals - Erin Ryan
                                                                              TOTAL   6040        45.31

Out of Town Meals        6041     05/29/2019 Todd Cosenza               COSENZA                   11.47               06/04/2019     386197       12842553
                                             Out of Town Meals - Todd Cosenza
                                  06/06/2019 Erin Ryan                  RYAN                      59.59               06/24/2019     387130       12858556
                                             Out of Town Meals - Erin Ryan
                                                                              TOTAL   6041        71.06

Lodging                  6042     05/27/2019 Todd Cosenza               COSENZA                  200.64               06/04/2019     386197       12842554
                                             Lodging - Todd Cosenza
                                  05/27/2019 Jonathan D. Waisnor        WAISNOR                  224.38               06/21/2019     387073       12857923
                                             Lodging - Jonathan D. Waisnor -Shapro
                                             Hearing
                                  05/28/2019 Brian Lennon               LENNON                   242.72               06/04/2019     386197       12842615
                                             Lodging - Brian Lennon
                                  05/28/2019 Brian Lennon               LENNON                        8.20            06/04/2019     386197       12842617
                                             Lodging - Brian Lennon
                                  05/28/2019 Jonathan D. Waisnor        WAISNOR                  224.38               06/21/2019     387073       12857925
                                             Lodging - Jonathan D. Waisnor -Shapro
                                             Hearing
                                  05/29/2019 Brian Lennon               LENNON                   276.08               06/04/2019     386197       12842616
                                             Lodging - Brian Lennon
                                  06/06/2019 Erin Ryan                  RYAN                     212.51               06/24/2019     387130       12858557
                                             Lodging - Erin Ryan
                                                                              TOTAL   6042     1,388.91

Airplane/Train           6043     05/24/2019 Chase Card Services        COSENZA                1,456.60               05/30/2019     385895       12837975
                                             Airplane/Train
                                  05/25/2019 Jonathan D. Waisnor        WAISNOR                  695.30               06/21/2019     387073       12857927
MATTER COST DETAIL               Case 19-80064-TLS              Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                     Desc Main           3
Run Date & Time: 6/28/2019  11:40:23AM                                  Document    Page 21 of 31 Worked 05/01/2019 Thru         06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                      Billing Partner: LENNON B
Matter: 00001 GENERAL CHAPTER 11                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                             For Accounting Only
                                     Tran         Vendor Name / Incurred By                   Cost                   Batch        Batch
                                     Date         Transaction Detail                         Amount                   Date          Id         Index
Cost Category            Code
                                             Airplane/Train - Jonathan D. Waisnor
                                             -Shapro Hearing
                                  05/27/2019 Chase Card Services        LENNON                 1,456.60            05/30/2019     385895       12837976
                                             Airplane/Train
                                  05/29/2019 Chase Card Services        WAISNOR                  817.30            06/18/2019     386849       12852768
                                             Airplane/Train
                                  06/06/2019 Chase Card Services        LENNON                 1,456.60            06/26/2019     387295       12861079
                                             Airplane/Train
                                  06/06/2019 Chase Card Services        RYAN                   1,186.60            06/26/2019     387295       12861080
                                             Airplane/Train
                                  06/07/2019 Erin Ryan                  RYAN                      75.00            06/24/2019     387130       12858559
                                             Airplane/Train - Erin Ryan
                                                                              TOTAL   6043     7,144.00



                                                                          TOTAL MATTER         9,890.06
                                   Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                            Desc Main                 1
MATTER TIME DETAIL                                                       Document    Page 22 of 31 Worked 05/01/2019 Thru
Run Date & Time: 6/28/2019  11:40:23AM                                                                                                      06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                 Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                             For Acct
                                                                                                                                                               Only
                                            Work        Task   Activity                                     Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                         Amount
                                                                                   Description                                                                Index

13086   AMBEAULT A     LEGAL ASSISTANT     05/01/2019                     Prepare, file and serve              0.5                                  205.00     21343203
                                                                          statement i/c/w UCC Motion to
                                                                          Compel (.3); corr. w/ S. Haq
                                                                          re: same (.2).
16591   ANTONELLO G    ASSOCIATE           05/01/2019                     Calls with J. Waisnor, R. Paul,      0.7                                  581.00     21328382
                                                                          and M. Connolly re: case status
                                                                          and next steps.
16238   CHANG H K      ASSOCIATE           05/01/2019                     Teleconference with J. Waisnor       2.9                                1,421.00     21314371
                                                                          and associate case team
                                                                          regarding case status and
                                                                          expected document productions
                                                                          (.4); corr. with LTS regarding
                                                                          collection of Willkie custodian
                                                                          data (.1); call with R. Paul
                                                                          regarding privilege production
                                                                          screening terms (.2); review
                                                                          and revise prospective
                                                                          production screening terms set
                                                                          (.8); preparation of
                                                                          preproduction set searches
                                                                          (.8); corr. with J. Waisnor
                                                                          regarding initial terms and
                                                                          preproduction set counts (.1);
                                                                          revision of production
                                                                          screening terms and
                                                                          transmission to vendor for
                                                                          report generation (.5).
17427   CONNOLLY M     ASSOCIATE           05/01/2019                     Follow-up Shopko call on work        1.7                                  935.00     21489325
                                                                          streams and production (.5);
                                                                          Shopko call with J. Waisnor, G.
                                                                          Antonello, R. Paul (.4); revise
                                                                          Shopko log of calls and
                                                                          meetings (.8).
15445   COSENZA T G    PARTNER             05/01/2019                     Corr. on settlement issues with      3.6                                4,860.00     21315585
                                                                          Sun (.4); various calls and
                                                                          emails with team on same (.3);
                                                                          prepare for court conference on
                                                                          motion to compel (.6); review
                                                                          and revise Special Committee
                                                                          submission on settlement (.7);
                                                                          attend court conference (.3);
                                                                          follow up with team on
                                                                          producing documents to UCC
                                                                          (.7); follow up with B. Lennon
                                                                          on UCC issues (.3); review of
                                                                          draft Sun settlement agreement
                                                                          (.3); follow up communications
                                                                          with client on APA and
                                                                          settlement issues (.4).
17585   LENNON B       PARTNER             05/01/2019                     Analyze issues re: settlement        8.0                               10,800.00     21320314
                                                                          (6.2); telephone conferences
                                                                          and correspondence w/ Company,
                                                                          K&E re: same (1.8).
17446   PAUL R         LAW CLERK           05/01/2019                     Team meeting to discuss updates      1.2                                  492.00     21489349
                                                                          and actionable next steps (.4);
                                                                          prepare for same (.3); draft
                                                                          list of search terms for
                                                                          privilege review (.5).
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                            Desc Main                 2
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 23 of 31 Worked 05/01/2019 Thru                   06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                 Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                             For Acct
                                                                                                                                                               Only
                                            Work        Task   Activity                                     Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                         Amount
                                                                                   Description                                                                Index
16388   WAISNOR J D    ASSOCIATE           05/01/2019                     Corr. with team to discuss 9019      2.6                                2,665.00     21320596
                                                                          motion and case update (.8);
                                                                          review draft 9019 motion (.3);
                                                                          coordinate production of
                                                                          documents to UCC (.4); motion
                                                                          to compel conference with court
                                                                          (.6); discussion with Ducera
                                                                          regarding 9019 and Ducera
                                                                          report (.3); discussion with J.
                                                                          Lula regarding productions to
                                                                          UCC (.2).
16238   CHANG H K      ASSOCIATE           05/02/2019                     Review search term reports for       0.7                                  343.00     21315074
                                                                          privilege terms (.1); update
                                                                          preproduction searches and
                                                                          review presumptively privileged
                                                                          set documents (.5);
                                                                          communications with vendor
                                                                          regarding creation of new
                                                                          search index with removal of
                                                                          repetitive email footer text
                                                                          (.1).
17427   CONNOLLY M     ASSOCIATE           05/02/2019                     Incorporate A. Verast's edits        3.4                                1,870.00     21489350
                                                                          into Ducera declaration
                                                                          comments (.5); revise Ducera
                                                                          declaration (1.1); further
                                                                          revise Ducera declaration (.4);
                                                                          draft litigation hold notice
                                                                          for Ducera (1.4).
15445   COSENZA T G    PARTNER             05/02/2019                     Review of Sun settlement             3.8                                5,130.00     21316284
                                                                          agreement and communications
                                                                          with B. Lennon on same (.7);
                                                                          review and revise 9019 draft
                                                                          and Ducera report (2.4); corr.
                                                                          with J. Waisnor on Sun
                                                                          documents and production issues
                                                                          (.7).
18027   HAQ S S        ASSOCIATE           05/02/2019                     Review and revise 9019              12.2                               10,858.00     21409550
                                                                          settlement motion (4.4); corr.
                                                                          w/ K&E, Sun, B. Lennon re: same
                                                                          (2.2); review and revise 9019
                                                                          declarations (1.8); corr. w/ A.
                                                                          Verost re: same (.6); corr. w/
                                                                          K&E re: motion to continue
                                                                          standing objection (1.0); corr.
                                                                          with local counsel re filings
                                                                          (1.1); review motion to
                                                                          continue standing (1.1).
17585   LENNON B       PARTNER             05/02/2019                     Corr. w/ Company, K&E, S. Haq,       9.0                               12,150.00     21320164
                                                                          clients re: settlement
                                                                          negotiations (3.2); revise
                                                                          motion and settlement agreement
                                                                          (5.8).
16388   WAISNOR J D    ASSOCIATE           05/02/2019                     Review and revise 9019 motion        2.3                                2,357.50     21320531
                                                                          and supporting filings (1.7);
                                                                          corr. with J. Watson regarding
                                                                          document collection (.3); corr.
                                                                          with A. Verost regarding 9019
                                                                          motion (.3).
17212   WATSON J M     LEGAL ASSISTANT     05/02/2019                     Multiple corr. with J. Waisnor       0.7                                  241.50     21320182
                                                                          and Sandline regarding data
                                                                          collection, searching and
                                                                          processing.
16591   ANTONELLO G    ASSOCIATE           05/03/2019                     Call with J. Waisnor re: 9019.       0.2                                  166.00     21328403
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                            Desc Main                 3
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 24 of 31 Worked 05/01/2019 Thru                   06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                 Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                             For Acct
                                                                                                                                                               Only
                                            Work        Task   Activity                                     Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                         Amount
                                                                                   Description                                                                Index

16238   CHANG H K      ASSOCIATE           05/03/2019                     Corr. with J. Waisnor                0.6                                  294.00     21319231
                                                                          regarding privilege screen
                                                                          draft production (.2); corr.
                                                                          with review team regarding
                                                                          additional privilege screen
                                                                          terms (.1); discussion with J.
                                                                          Watson regarding document
                                                                          collection and transmittal of
                                                                          Shopko re-stamped Sun volumes
                                                                          for transmittal to unsecured
                                                                          creditors committee (.3).
17427   CONNOLLY M     ASSOCIATE           05/03/2019                     Revise 9019 Settlement Motion        5.1                                2,805.00     21317193
                                                                          (2.6); Ducera declaration
                                                                          (2.1); and discussing revisions
                                                                          with the team (.4).
15445   COSENZA T G    PARTNER             05/03/2019                     Follow up on document issues         3.2                                4,320.00     21320084
                                                                          and Sun production (.6); review
                                                                          of draft 9019 papers (1.8);
                                                                          corr. w/ B. Lennon re: Ducera
                                                                          declaration (.4); follow up on
                                                                          Shopko production matters (.4).
18027   HAQ S S        ASSOCIATE           05/03/2019                     Review and revise settlement         8.4                                7,476.00     21409454
                                                                          agreement (3.1); corr. w/ K&E,
                                                                          clients re: same (1.0); review
                                                                          and revise settlement motion
                                                                          (2.3); review and revise
                                                                          standing objection (1.0);
                                                                          research re corporate
                                                                          governance (.6); prepare filing
                                                                          documents (.4).
17585   LENNON B       PARTNER             05/03/2019                     Address issues re: settlement        4.5                                6,075.00     21320273
                                                                          (2.8); telephone conferences
                                                                          and correspondence w/ Company,
                                                                          client, K&E re: same (1.7).
17450   RYAN E         ASSOCIATE           05/03/2019                     Review and revise 9019               5.4                                2,970.00     21320736
                                                                          Settlement Motion and
                                                                          Declaration.
16388   WAISNOR J D    ASSOCIATE           05/03/2019                     Discussion with T. Cosenza           2.3                                2,357.50     21320513
                                                                          regarding discovery sought by
                                                                          UCC (.4); review documents to
                                                                          file in support of 9019 motion
                                                                          (1.5); supervise production of
                                                                          documents to UCC and call with
                                                                          UCC counsel (.4).
17212   WATSON J M     LEGAL ASSISTANT     05/03/2019                     Assist w/ preparation of             2.5                                  862.50     21320151
                                                                          production.
18027   HAQ S S        ASSOCIATE           05/04/2019                     Correspondence w/ A. Verost re:      0.5                                  445.00     21409704
                                                                          Ducera report.
17427   CONNOLLY M     ASSOCIATE           05/05/2019                     Revise Ducera declaration and        1.5                                  825.00     21317148
                                                                          9019 motion.
15445   COSENZA T G    PARTNER             05/05/2019                     Corr. with B. Lennon on Sun          1.1                                1,485.00     21320453
                                                                          issues and settlement (.4);
                                                                          follow up on 9019 papers and
                                                                          review of revisions of same
                                                                          (.7).
18027   HAQ S S        ASSOCIATE           05/05/2019                     Correspondence w/ Ducera, K&E        2.9                                2,581.00     21409623
                                                                          re: settlement motion (.8);
                                                                          review and revise settlement
                                                                          motion (1.1); review and revise
                                                                          settlement declaration (1.0).
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                            Desc Main                 4
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 25 of 31 Worked 05/01/2019 Thru                   06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                 Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                             For Acct
                                                                                                                                                               Only
                                            Work        Task   Activity                                     Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                         Amount
                                                                                   Description                                                                Index
17585   LENNON B       PARTNER             05/05/2019                     Telephone conference with A.         0.5                                  675.00     21320181
                                                                          Gallo and C. Wolfe re:
                                                                          settlement.
17450   RYAN E         ASSOCIATE           05/05/2019                     Review and revise 9019               1.0                                  550.00     21393319
                                                                          settlement motion.
13086   AMBEAULT A     LEGAL ASSISTANT     05/06/2019                     Assist w/ preparation of 9019        0.8                                  328.00     21393477
                                                                          motion and related pleadings.
16591   ANTONELLO G    ASSOCIATE           05/06/2019                     Meet with J. Waisnor, R. Paul,       0.4                                  332.00     21328341
                                                                          and M. Connolly re: case status
                                                                          and next steps.
17896   BARCH E        LEGAL ASSISTANT     05/06/2019                     Circulate settlement motion          0.1                                   25.00     21324581
                                                                          with exhibits for S. Haq.
16238   CHANG H K      ASSOCIATE           05/06/2019                     Review of case team feedback on      1.4                                  686.00     21324326
                                                                          privilege terms and requesting
                                                                          adjustment to screening terms
                                                                          (0.2); review of updated search
                                                                          term reports (0.2); modifying
                                                                          preproduction set searches and
                                                                          circulating various resulting
                                                                          set sizes (1.0).
17427   CONNOLLY M     ASSOCIATE           05/06/2019                     Meeting with J. Waisnor and G.       3.2                                1,760.00     21489351
                                                                          Antonelloto discuss status in
                                                                          Shopko and deposition prep (5);
                                                                          final revisions to 9019 motion
                                                                          and declaration in advance of
                                                                          filing (2.7).
15445   COSENZA T G    PARTNER             05/06/2019                     Review of Florida litigation         3.2                                4,320.00     21323204
                                                                          against Sun (.8); corr. with B.
                                                                          Lennon on same (.3); review of
                                                                          revised settlement drafts and
                                                                          9019 papers, including Ducera
                                                                          affidavit (1.3); corr. w/ J.
                                                                          Waisnor on document collection
                                                                          and production (.3); corr. with
                                                                          clients on document
                                                                          preservation and collection
                                                                          (.3); follow up on meeting with
                                                                          Committee and strategy with B.
                                                                          Lennon (.2).
17585   LENNON B       PARTNER             05/06/2019                     Attention to settlement             10.5                               14,175.00     21408817
                                                                          agreement and motion to approve
                                                                          (7.8); telephone conferences
                                                                          and correspondence w/ K&E,
                                                                          clients, S. Haq and Company re:
                                                                          same (2.7).
17450   RYAN E         ASSOCIATE           05/06/2019                     Further review and revise            5.0                                2,750.00     21393345
                                                                          Settlement Motion and
                                                                          Declaration.
16388   WAISNOR J D    ASSOCIATE           05/06/2019                     Corr. with S. Haq regarding          2.1                                2,152.50     21352075
                                                                          update on case (.1); corr. with
                                                                          team regarding document
                                                                          collection (.2); corr. with J.
                                                                          Lula regarding document
                                                                          productions to UCC (.4); team
                                                                          meeting to discuss 9019 process
                                                                          (.4); revise 9019 motion and
                                                                          supporting materials (.6);
                                                                          review recent filing against
                                                                          Sun Capital (.4).
16238   CHANG H K      ASSOCIATE           05/07/2019                     Assist w/ production of              0.6                                  294.00     21326380
                                                                          documents.
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                            Desc Main                 5
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 26 of 31 Worked 05/01/2019 Thru                   06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                 Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                             For Acct
                                                                                                                                                               Only
                                            Work        Task   Activity                                     Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                         Amount
                                                                                   Description                                                                Index
15445   COSENZA T G    PARTNER             05/07/2019                     Corr. with J. Waisnor on status      1.2                                1,620.00     21326151
                                                                          and document collection issues
                                                                          (.3); corr. w/ clients on
                                                                          collection (.2); follow up with
                                                                          B. Lennon on status (.3); corr.
                                                                          with J. Davis and J Waisnor
                                                                          with update (.2); corr. w/ K&E
                                                                          filings (.2).
18027   HAQ S S        ASSOCIATE           05/07/2019                     Correspondence with internal         0.1                                   89.00     21409433
                                                                          team re case update.
17585   LENNON B       PARTNER             05/07/2019                     Meeting with Kirkland and UCC        3.0                                4,050.00     21408958
                                                                          re: settlement.
16388   WAISNOR J D    ASSOCIATE           05/07/2019                     Corr. with T. Cosenza regarding      0.2                                  205.00     21352069
                                                                          9019 process (.1); address
                                                                          document collection issues
                                                                          (.1).
16238   CHANG H K      ASSOCIATE           05/08/2019                     Assist w/ production of              0.9                                  441.00     21328486
                                                                          documents.
15445   COSENZA T G    PARTNER             05/08/2019                     Corr. with B. Lennon on status       0.4                                  540.00     21328266
                                                                          (.3); corr. w/ J. Waisnor on
                                                                          document collection issues
                                                                          (.1).
16388   WAISNOR J D    ASSOCIATE           05/08/2019                     Corr. w/ clients regarding           0.7                                  717.50     21352105
                                                                          document collection (.6); corr.
                                                                          with MorganLewis regarding UCC
                                                                          productions (.1).
15445   COSENZA T G    PARTNER             05/09/2019                     Follow up with J. Waisnor on         0.7                                  945.00     21336213
                                                                          document requests (.3); corr.
                                                                          w/ clients on Sun informational
                                                                          requests (.2) follow up on
                                                                          settlement issues (.2).
16591   ANTONELLO G    ASSOCIATE           05/10/2019                     Corr. with J. Waisnor re:            1.4                                1,162.00     21412517
                                                                          deposition prep (.1); corr.
                                                                          with M. Connolly re: deposition
                                                                          prep (.2); review documents and
                                                                          draft list for deposition prep
                                                                          (1.1).
17896   BARCH E        LEGAL ASSISTANT     05/10/2019                     Reschedule depositions for S.        1.9                                  475.00     21345152
                                                                          Haq (.3); catalog collection of
                                                                          documents for J. Waisnor (1.6).
17427   CONNOLLY M     ASSOCIATE           05/10/2019                     Corr. w/ G. Antonello about          0.2                                  110.00     21333641
                                                                          deposition outlines for
                                                                          clients.
15445   COSENZA T G    PARTNER             05/10/2019                     Corr. with ML on documents and       1.4                                1,890.00     21336211
                                                                          scheduling (.3); corr. with J.
                                                                          Waisnor on document collection
                                                                          and production issues (.4);
                                                                          corr. with SW and MM on
                                                                          deposition scheduling and case
                                                                          updates (.4); corr. w/ G.
                                                                          Antonello on dep prep outline
                                                                          (.3).
18027   HAQ S S        ASSOCIATE           05/10/2019                     Review and revise motion to          1.0                                  890.00     21409554
                                                                          expedite hearing (.8); corr. w/
                                                                          local counsel re: same (.2).
17585   LENNON B       PARTNER             05/10/2019                     Correspondence w/ K&E re:            0.5                                  675.00     21409024
                                                                          filing of motion to expedite
                                                                          hearing.
16388   WAISNOR J D    ASSOCIATE           05/10/2019                     Corr. with G. Antonello              0.1                                  102.50     21352089
                                                                          regarding ongoing projects.
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                            Desc Main                 6
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 27 of 31 Worked 05/01/2019 Thru                   06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                 Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                          Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                             For Acct
                                                                                                                                                               Only
                                            Work        Task   Activity                                     Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                         Amount
                                                                                   Description                                                                Index
16591   ANTONELLO G    ASSOCIATE           05/13/2019                     Corr.with T. Cosenza and J.          1.0                                  830.00     21412437
                                                                          Waisnor re: documents for
                                                                          deposition prep (.5); call with
                                                                          J. Waisnor re: same (.1); corr.
                                                                          with E. Barch re: preparation
                                                                          of materials (.4).
17896   BARCH E        LEGAL ASSISTANT     05/13/2019                     Prepare deposition prep              1.5                                  375.00     21345093
                                                                          materials for G. Antonello.
16238   CHANG H K      ASSOCIATE           05/13/2019                     Conducting searches in the           0.3                                  147.00     21340075
                                                                          database to verify production
                                                                          of specific documents.
17427   CONNOLLY M     ASSOCIATE           05/13/2019                     Draft deposition outlines for        1.9                                1,045.00     21340120
                                                                          clients.
15445   COSENZA T G    PARTNER             05/13/2019                     Prepare for meet and confer          3.3                                4,455.00     21344962
                                                                          call (.3); meet and confer call
                                                                          with UCC and K&E (.3); update
                                                                          S. Winograd on same and discuss
                                                                          next steps (.3); discuss
                                                                          settlement strategy with B.
                                                                          Lennon (.2); prepare for S.
                                                                          Winograd deposition prep and
                                                                          review key documents (1.8);
                                                                          corr. w/ K&E, Gibson with J.
                                                                          Waisnor on next steps and
                                                                          update on status (.2); follow
                                                                          up with M. Meghji on deposition
                                                                          issues (.2).
17585   LENNON B       PARTNER             05/13/2019                     Telephone conferences and            1.2                                1,620.00     21409083
                                                                          correspondence w/ K&E, clients
                                                                          re: settlement negotiations.
16388   WAISNOR J D    ASSOCIATE           05/13/2019                     Revise standing objection            0.8                                  820.00     21358948
                                                                          (0.4); discussions with team
                                                                          regarding status of various
                                                                          motions against the UCC (0.4).
16591   ANTONELLO G    ASSOCIATE           05/14/2019                     Draft email to J. Stupar re:         2.2                                1,826.00     21412404
                                                                          documents for deposition prep
                                                                          (.6); corr. with J. Waisnor re:
                                                                          same (.2); draft notice of
                                                                          deposition of I. Shaked (1.2);
                                                                          corr. with H. Chang re:
                                                                          documents (.2).
16238   CHANG H K      ASSOCIATE           05/14/2019                     Confirming production status of      0.4                                  196.00     21347761
                                                                          certain client report support
                                                                          documents.
15445   COSENZA T G    PARTNER             05/14/2019                     Corr. re: deposition scheduling      3.3                                4,455.00     21344976
                                                                          with J. Waisnor and K&E (.4);
                                                                          prepare for upcoming
                                                                          depositions (1.3); corr. w/ G.
                                                                          Antonello re: status and
                                                                          revisions of outlines to
                                                                          deposition prep (1.6).
17585   LENNON B       PARTNER             05/14/2019                     Participate in settlement            1.2                                1,620.00     21409015
                                                                          negotiations with UCC and Sun.
16388   WAISNOR J D    ASSOCIATE           05/14/2019                     Corr. with J. Lula regarding         0.6                                  615.00     21358924
                                                                          9019 motion (.4); corr. with T.
                                                                          Cosenza regarding trial
                                                                          preparation (.2).
16591   ANTONELLO G    ASSOCIATE           05/15/2019                     Correspond with E. Barch re:         0.5                                  415.00     21412538
                                                                          deposition prep index.
MATTER TIME DETAIL                 Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                               Desc Main                 7
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 28 of 31 Worked 05/01/2019 Thru                      06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                    Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                                             Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                                For Acct
                                                                                                                                                                  Only
                                            Work        Task   Activity                                        Hours                          Agreed Rates
  Id    Name                  Title         Date        Code     Code                                                                            Amount
                                                                                     Description                                                                 Index
17896   BARCH E        LEGAL ASSISTANT     05/15/2019                      Reschedule depositions for J.          1.7                                  425.00     21347987
                                                                           Waisnor (.1); Compile
                                                                           deposition prep materials for
                                                                           G. Antonello (1.6)
17427   CONNOLLY M     ASSOCIATE           05/15/2019                      Coordinate deposition prep for         3.0                                1,650.00     21489352
                                                                           S. Winograd (.2); draft
                                                                           deposition outline for S.
                                                                           Winograd and M. Meghji (2.8).
15445   COSENZA T G    PARTNER             05/15/2019                      Follow up on deposition                2.2                                2,970.00     21354873
                                                                           scheduling with clients (.4);
                                                                           follow up with J. Waisnor on
                                                                           possible hearing issues and
                                                                           depositions (.3); follow up on
                                                                           outline for depositions (1.1);
                                                                           corr. w/ B. Lennon on next
                                                                           steps (.2); follow up on
                                                                           settlement issues (.2).
17585   LENNON B       PARTNER             05/15/2019                      Correspondence with team re            0.5                                  675.00     21408909
                                                                           status of UCC/Sun negotiations.
17896   BARCH E        LEGAL ASSISTANT     05/16/2019                      Reschedule depositions for J.          0.2                                   50.00     21355216
                                                                           Waisnor.
15445   COSENZA T G    PARTNER             05/29/2019                      Corr. w/ WFG, K&E re: follow up        0.9                                1,215.00     21382838
                                                                           from hearing (.4); call with B.
                                                                           Lennon on hearing and strategy
                                                                           (.3); follow up with J.
                                                                           Waisnor re: same (.2).
16591   ANTONELLO G    ASSOCIATE           05/30/2019                      Research in connection with            4.0                                3,320.00     21412568
                                                                           settlement and draft summary to
                                                                           J. Waisnor (3.4); calls with J.
                                                                           Waisnor re: same (.6).
                                           05/31/2019                      Draft email to T. Cosenza re:          0.4                                  332.00     21412416
                                                                           research in connection with
                                                                           settlement.


                                                                          TOTAL 126133.00002                    165.1                              158,586.50



                                                                                                       TOTAL    165.1                              158,586.50
                                 Case 19-80064-TLS               Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                    Desc Main           1
MATTER COST DETAIL
Run Date & Time: 6/28/2019  11:40:23AM                                   Document    Page 29 of 31 Worked 05/01/2019 Thru        06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                      Billing Partner: LENNON B
Matter: 00002 INVESTIGATION                                                                               Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                             For Accounting Only
                                     Tran         Vendor Name / Incurred By                   Cost                   Batch        Batch
                                     Date         Transaction Detail                         Amount                   Date          Id         Index
Cost Category            Code
Taxi, Car Service, &     6020     05/14/2019 Todd Cosenza               COSENZA                   19.75            06/04/2019     386197       12842549
                                             Taxi, Car Service, & Parking - Todd
                                             Cosenza
                                                                              TOTAL   6020        19.75

Messenger                6060     05/07/2019 NPD Logistics LLC          WAISNOR                   44.93            06/25/2019     387204       12859454
                                             Messenger
                                                                              TOTAL   6060        44.93



                                                                          TOTAL MATTER            64.68
                                   Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                                Desc Main
                                                                                                                                                                         1
MATTER TIME DETAIL                                                       Document    Page 30 of 31
Run Date & Time: 6/28/2019  11:40:23AM                                                                                   Worked 05/01/2019 Thru 06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                     Billing Partner: LENNON B
Matter: 00004 FEE STATEMENTS AND APPLICATIONS                                                                            Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                              For Acct
                                                                                                                                                                Only
                                            Work        Task   Activity                                        Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                           Hours           Amount
                                                                                     Description                                                               Index

17450   RYAN E         ASSOCIATE           05/15/2019                      Draft Ducera fee application.           3.0              1,650.00                    21393310

                                           05/16/2019                      Draft Ducera retention                  4.2              2,310.00                    21393292
                                                                           application.
18027   HAQ S S        ASSOCIATE           05/24/2019                      Correspondence w/ A. Verost re:         0.8                712.00                    21409487
                                                                           Ducera retention application.
17450   RYAN E         ASSOCIATE           05/24/2019                      Correspondence with S. Haq re:          0.2                110.00                    21393281
                                                                           revisions to the Ducera fee
                                                                           application.
                                           05/28/2019                      Revised Ducera final fee                2.5              1,375.00                    21393306
                                                                           application for S. Haq.
18027   HAQ S S        ASSOCIATE           05/29/2019                      Review and revise Ducera                1.8              1,602.00                    21409450
                                                                           retention application.
                                           05/30/2019                      Review and revise Ducera                2.9              2,581.00                    21409427
                                                                           retention application (2.4);
                                                                           correspondence w/ A. Verost
                                                                           re: same with Ducera team (.3);
                                                                           correspondence re: same with
                                                                           internal team (.2).
17450   RYAN E         ASSOCIATE           05/30/2019                      Reviewed and revised Ducera fee         0.6                330.00                    21393311
                                                                           application for S. Haq.


                                                                          TOTAL 126133.00004                      16.0             10,670.00



                                                                                                       TOTAL      16.0             10,670.00
                                   Case 19-80064-TLS             Doc 1643 Filed 07/01/19 Entered 07/01/19 11:42:14                                   Desc Main
                                                                                                                                                                            1
MATTER TIME DETAIL                                                       Document    Page 31 of 31
Run Date & Time: 6/28/2019  11:40:23AM                                                                                      Worked 05/01/2019 Thru 06/10/2019
Client: 126133 SPECIAL COMMITTEE OF THE BOARD OF DIRECTORS OF SHOPKO                                                        Billing Partner: LENNON B
Matter: 00007 NON-WORKING TRAVEL                                                                                            Matter Type: BANKRUPTCY
Currency: USD
                                                                                                                                                                 For Acct
                                                                                                                                                                   Only
                                            Work        Task   Activity                                           Worked       Standard Rates
  Id    Name                  Title         Date        Code     Code                                              Hours           Amount
                                                                                     Description                                                                  Index

17585   LENNON B       PARTNER             05/27/2019                      Travel to Omaha (2.5 of 5.0).              2.5              3,375.00                    21408839

15445   COSENZA T G    PARTNER             05/29/2019                      Travel from Omaha to New York.             2.9              3,915.00                    21464100

17585   LENNON B       PARTNER             05/29/2019                      Travel to NYC. (3.5 of 7.0).               3.5              4,725.00                    21408813

                                           06/06/2019                      Travel to Omaha (2.5 of 5.0).              2.5              3,375.00                    21486091

17450   RYAN E         ASSOCIATE           06/06/2019                      Travel to Omaha (2.5 of 5.0).              2.5              1,375.00                    21457830

17585   LENNON B       PARTNER             06/07/2019                      Travel to NY (3.0 of 6.0).                 3.0              4,050.00                    21485634

17450   RYAN E         ASSOCIATE           06/07/2019                      Travel from Omaha to NY (2.2 of            2.2              1,210.00                    21457813
                                                                           4.5).


                                                                          TOTAL 126133.00007                         19.1             22,025.00



                                                                                                          TOTAL      19.1             22,025.00
